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SUMMONS
COURT OF COMMON PLEAS
LAKE COUNTY OHIO
BRYAN ANTHONY REO
Plaintiff
VS. Case Number: 20CV001304

Judge EUGENE A. LUCCI
WINRED TECHNICAL SERVICES LLC
Defendant

To the following named DEFENDANT(S):
WINRED TECHNICAL SERVICES I.1,.C
1176 WILSON BLVD SUITE 530
ARLINGTON VA 22219
You have been named a Defendant in a complaint filed in the Lake County Court of Common
Pleas, Lake County Courthouse, Painesville, Ohio. A copy of the complaint is attached hereto. The
name and address of the plaintiffs atromey is:

BRYAN ANTHONY REO
PO BOX 5100
MENTOR OF 44060
You are hereby summoned and required to-do the following:
lL. Within 28 days after service of this Summons upon you, serve a copy of an Answer to the

Complaint on the Plaintiff's Attorney or on the Plaintiff, if he/she has nu attorney of ree-
ord:

2, Within 3 days.afler you serve the Plaintiff or the Plaintiff's Attorney, file on Answer with
your original signature with (he Lake County Clerk of Court,

Calcutations of time ure exclusive of the day of servive.
If you fail to appear and defend, judgment by default will be rendered against you for the relief
demanded in the complaint,

Maureen G. Kelly

Clerk, Court of Common Pleas
Lake County. Ohio

25 N, Park Place

Painesville OH 44077

» Lessica Laglarih

Deputy Clerk

October 26, 2020

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STATE OF OLIO
IN THE COURT OF COMMON PLEAS OF LAKE COUNTY
CIVLL DIVISION
BRYAN ANTHONY REO
PO BOX 5100 20CV001304
Mentor. OH 44061 EUGENE A. LUCCI

Plaintiff,
Vi
WINRED TECHNICAL SERVICES LLC

1176 Wilson Blvd. Suite 530
Arlington, VA 22219

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Delendant or 3
SF 4
REO LAW, LLC as =
By: Bryan Anthony Reo (20097470) ye
P.O. Box 5100 > = | r 4
Mentor, OF 44061 oY oo
(P): (440) 313-5893 3'% so
(EF): ReowReoluw.ore =)

Attorney and Plaintiff Pro Se

PLAINTIFF'S COMPLAINT
JURY DEMAND ENDORSED HEREON

NOW COMES Bryan Anthony Reo (Plaintiff), Pro Se. and hereby propound upon WinRed
Technical Services LLC “WR” (hereinafter referred to as “Defendant™).and this Honorable Court
Plaintiffs’ Complaint,
I. INTRODUCTION
1, Plainull sues Defendant for statutory violations of the Telephone Consumer
Protection Act, 47 U.S.C, § 227 (“TCPA") and the Consumer Sales Practices Act, R.C, §§
1345.01 ef sey, °CSPA”),
Nl, PARTLES

2. Plaintiff is an adult natural persen who is domiciled in Lake County, State of Ohio,

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3. Defendant WinRed Technical Services. LLC is a non-connected PAC existing by
and through the laws of the state of Virginia, based in Arlington Virginia, using automated
systems to send text-message, SMS, spam, to cellular numbers assigned to residents in the
state of Ohio, Defendant is registered with the Federal Elections Commission and purports
to be in compliance.

IH, JURISDICTION AND VENUE

4, This Court enjoys subject matter jurisdiction over the instant civil action because
the amount in controversy exceeds five hundred dollars:($500.00) and involves aclaim for
violations of 47 U.S.C, § 227, R.C. § 1345.01 and R.C. §.2305,01,

5. This Court enjoys personal jurisdiction over Defendant beeause Defendant conduct
business in the state of Ohio. and Defendant contacted Plaintiff in Ohio with the purpose
of injuring PlaintifY when Defendant might reasonably have expected that Plamull would
be injured in the Suute of Ohio. R.C, §§ 2307.382(A)(1) and (6); Civ.R. 4.3(A)(1) and (9),

6. Venue is proper with this Court because Plaintiff resides in Lake County, State of
Ohio, and the Court's persona! jurisdiction over Defendant exists via Civ.R. 4.35. Civ.R.
3(B){7).

IV. STATEMENT OF FACTS

7. Defendant has subjected Plaintiff to significant telecommunications spam
beginning in September of 2020,

8, Defendant repeatedly contacts Plaintiff on Plaintiff's cellular phone delivering
SMS, short text message, spam messages, directing Plaintiff to Defendant's website for the
purpose of soliciting Plaintiff to give money to Defendant or to political causes that

Defendant favors,

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9, Plaintiff has texted back, on seven oecasions, the word “STOP” or “Stop” which
Defendant's automated program immediately responded to with an acknowledgement of
receipt and 4 statement that the messages would stop, [lowever. the messages have never
stopped,

10, Defendant first began texting Plaintiff in September of 2020, specifically on
September 19, 2020, from number 833-816-8506, The message dircoted Plaintilf to go to
Defendant's Website and give money to 4 political campaign. Plaintiff texted back the word
“STOP” and immediately received the following acknowledgment “NETWORK MSG;
You replied with the word “step” which blocks all texts sent from this number, Text back
“unstop” lo receive Messages again,”

11, Iustead of stopping Defendant simply switched numbers-and began to text Plaintiff
from number 866-623-3829 on September 20, 2020, The message directed Plaintiff to go
to Defendant's website and give money toa political campaign. Plaintiff texted back the
word “STOP” and immediately received the following acknowledgment “NETWORK
MSG: You replied with the word “stop” which blocks all texts sent from this number, Text
back “unstop” to receive messages again,”

12, Instead of stopping Defendant simply switched numbers and began to text Plaimiff
from 877-586-7796 on September 2]. 2020. The message directed Plaintiff to go to
Defendant's website and give money to a political campaign. Plaintiff texted back the word
“STOP” and immediately received the following acknowledgment “NETWORK MSG;
You replied with the word “step” which blocks all texts sent from thismumber. Text back

“unstap” to receive messazes again,”

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13. Instead of stopping Defendant simply switched numbers and began to text Plaintiff
from 877-860-8947 on September 23, 2020, The message directed Plaintiff to go to
Defendant's website and give money to a political campaign. Plaintiff texted back the word
“STOP” and immediately received the following acknowledgment “NETWORK MSG:
You replied with the word “stop” which blocks all texts.sent from this number, Text back
“unstop” to receive messages again,”

14, Instead of stopping Defendant simply switched numbers and began to text Plaintilf
from 877-457-4599 on September 27, 2020, The message directed Plaintiff to go to
Defendant's website and give money to wpolitical campaign. Plaintiff texted back the word
“STOP” and immediately received the following acknowledgment “NETWORK MSG;
You replied with the word “stop™ which blocks all texts sent from this number. Text back
“unstap” to receive messages again.”

15. Instead of stopping Defendant simply switched numbers and began to text Plaintiff
from 877-840-6250 on September 28, 2020, The message directed Plainulf to go to
Defendant's website and give money to apolitical campaign, Plaintiff texted back the word
“STOP” und immediately received the following acknowledgment “NETWORK MSG:
You replied with the word “stop” which blocks all texts sent from this number, Text back
“unslop” lo receive messages again.”

16, Instead of stopping Defendant simply switched numbers-and began to text Plaintiff
from 833-207-2615 on October 17, 2020, The message directed Plaintiff to go to
Detendunt’s website and give money to apolitical campaign. Plaintiff texted back the word

“STOP” and immediately received the following acknowledgment “NETWORK MSG:

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You replied with the word “stop” which blocks all texts sent from this number, Text back
“unstop™ to receive messages again.”

17, Defendant appears to have no mechanism in place to process and record “do not
call” requests or “do not text” requests. Plaintiff wants no contact whatsoever [rom
Defendant.

18. Defendant's text messages have been intrusive, harassing, annoying. distracting,
and have been invasive of Plaintiffs privacy and hindered Plaintiff's productivity during
work,

19, Defendant uses a device that meets the current definition of an Automated
Telephone Dialing System. This is evidenced by the fact that the automatic
acknowledgement and response to lexting Defendant “STOP” is automatic, immediate, and
identical with each response. The response is always the same and it is always within wo
seconds of Plaintiff texting “STOP” the response is: "NETWORK MSG; You replied with
the word “stop” which blocks all texts sent from this number. Pext back “unstop™ to receive
Messaves again.”

20, Defendant is obligated to place Plaintiff on a “do not contact list” and is not
permitted fo merely cease using one of their seemingly infinite phone numbers to contact
him, while being able lo contact him from their other phone numbers.

21. After the first “stop” message was communicated by Plaintiff to Defendant, and
acknowledved by Defendant, Defendant has had actual knowledge that Plaintill docs not
want to be contacted.

22. Upon information and betief, Defendant knows, or should know, that Plaintiff not

only does not want to be contacted, but also does not wish to play “whack-a-mole™ and

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spend the next year sending the word “stop” on ‘4 daily busis to two hundred other numbers
that Defendant might be contemplating messaging Plaintiff from.

23, Defendant's called Plaintiff on cellular phone number ending in 3893.

24. Plainti(! maintains at ull limes relevant to this Complaint -a cellular telephone line
within the meaning of the 1CPA, 47 U.S.C. § 227(b)(1)(B), ending in 3893.

25. All of Defendant's communications consisted of an automated telephone dialing
system that provided Plaintiff a link to go to Defendant's website for political fundraising
purposes,

26, Defendant used an Automated Telephone Dialing System (“ATDS") when.
contacting Plaintiff on his phone. This was evidenced by the messages being identical or
Virtually identical, and the nature of the automatic, immediste, and verbatim Identical
responses to the Plaintiff texting back “stop” when Plaintiff texted back “stop” to each
message,

27. Plaintiff's cellular phone number has been listed on the National Do Not Call
(“DNC”) registry during all relevant times,

28. Pluintiff has never done business with Defendant nor did Plain ever request
contact from Defendant, Lf Plaintiff ever had done business with Defendant. if Defendant
somehow ever had prior consent, texting “stop” on seven occasions. is more than sufficient
to make known Plaintiff s desire to not be contacted further,

29, Defendant lacks express prior wrillen consent to contact Plaintiff with an ATDS to
contact his eellular phone.

30. Defendant lacks express prior consent of any sort, written or otherwise, to contact

Plaintiff with ATDS for any purpose.

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36,

37,

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31. As a result of Defendant’ conduct as described in this Complaint, Plaintiff has
sulfered damages,
¥. CAUSES OF ACTION

COUNT I
STATUTORY VIOLATIONS OF THE TCPA

>. Plaintill incorporates by reference the forewoing paragraphs of this Complaint as if each is

set forth herein.

. The TCPA is a federal statute that was enacted te prohibit unreasonable invasions of

privacy via certain Wwlephone practices.

. Plaintiff maintains at all times relevant to this Complaint a cellular telephone line within

the meaning of the TCPA, 47 U.S.C. § 227(b)(1)(B); with the phone number ending in
5893,

Defendant placed texts to Plaintiffs cellular telephone using an automated telephone
dialing system not for “emergency purposes” as defined by 47 U.S.C, § 227(b)(1 (AQ),
which had the natural consequence of utilizing Plaimiffs cellular telephone resources and
robbing Plaintif? of Plaintiff's time-and privacy.

it is a violation of the TCPA und is actionable for one to initiate a telephone call to u
person's cellular telephone line when the recipient of the telephone call has informed the
caller that they wish to not receive culls. 47 U.S.C. § 227(b)(2) and (3); 47 CFR
64. 1200(d)(6).

It is likewise a Violation of the TCPA and is actionable for one to initiate a telephone call

to 4 person’s cellular phone by means of anautomated telephone dialing system.

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38, Defendant violated 47 C.F-R. § 64.1200(4)(6) by failing to maintain a do-not call list: to
wit! Defendant called Plaintiff despite Plaintiff's telephone number being on the National
1) Not Call Registry and despite Plaintiffs explicit "do not call” requests to Defendant's
agents,

39. Defendant violated 47 C.P.R. § 64.1200(¢)(3) by failing to record a do-not call list; to wit:
Hefendant called Plaintil! despite Plaintiff's telephone number being on the National Do
Not Call Registry und despite Plaintiff's explicit “do not call” requests to Defendant and
their agents, Upon information and belief, Defendant has consciously decided not to
process Plaintiff sseven-prior “STOP” text responses directed to Defendant.

40. Defendant violated 47 C.F.R. § 64.41200(d)(2) by failing to train its personnel in lawful
telecommunications practices in compliance with do-not-call policies and requests; to wit:
Defendant called Plaintiff despite Plaintii’s repeated “stop” requests, Upon information
and belief, Defendant failed to properly train its personel to record DNC requests and to
maintain.a DNC fist,

4), Delendant violated the TCPA when Defendant ealled Plaintiff's telephone.

42. Defendant negligently violated the TCPA in relation to Plat?

43, Asa result of Defendant’ negligent violations of the TCPA, Plaintiff may recover statutory
damages of five hundred dollars ($500.00) for each and every violation of the provisions
of the TCPA, 47 U.S.C, § 227(b)(3)-and (e)(3).

44. In the ullernative to the scienter of negligence. Defendant have willfully violated the
provisions of the TCPA and Plaintiff may recover statutory damages of up to one thousand
five hundred dollars ($1,500.00) per violation of said statute. 47 U.S.C. § 227(b)(3) (see

Charval v, Ryan. 879 N.E.2d 765, 770 (Ohio 2007) (holding that willfulness is established

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if the defendant knew of the facts that constituted the offense and not that the defendant
knew that his conduct violated the law), .

45, Defendant committed at least fourteen (14) violations of Count J of Plaintiffs Complaint.
Defendant made at least 7 calls to Plaintiff, Each call consisted of an ATDS directing a text
to acellular phone in violation of 227(b) and all texts after the first STOP request consisted
of a failure to honor the “stop” request. each of the texts after the first “stop” request also
consisted of a failure to maintain a do not call list, and the texts themselves violated 47
ULS.C. § 227(b)1 MAM.

VI, PRAYER FOR RELIEF
WITEREFORE. Plaintiff prays that this:Court will:

46, Enter judgment against Defendant in Plaintiff's favor in an amount of moncy in the
aguregzate that does not exceed twenty-five thousand dollars ($25,000.00 — inclusive of all
damages) for general damages. statutory damuges, liquiduted damages, treble damages, not
inclusive of the award of attorncy’s fees pursuant to R.C. § 1345.09(F) und the award of
mandatory court costs (as-also provided by the CSPA),

47, Grant an injunction enjoining Defendant from further contacting Plaintiff in any unlawful
manner.

48. Award any und all other relief to which Plaintiff is:entited as a matter of law or equity.

RESPECTFULLY SUBMITTED,

Astagay 7 C ge
Bryan Anthony Reo (#0097470)
Reo Law LLC
P.O, Box 5100
Mentor. OH 44061
(Busimess): (216) 505-0811

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(Mobile); (440) 313-5893
(E): Reoi@Reol aw.org
Attorney and Plaintiff Pro Se

JURY DEMAND ENDORSED HEREON
Plaintiff respectfully demands 4 trial by jury on all of the issues set forth herein that are

triable by right. Ciy.R. 38.

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MAUREEN G. KELLY
CLERK OF COURTS

Lake County Common Pleas Court
ATTENTION ALL PARTIES TO THE CASE

. Whether you are represented by an Attorney or representing
yourself in this Legal action, LAKE COUNTY LOCAL
', COURT RULES require that all participants familiarize
_: themselves with, and follow the requirements of each court,

Pre-trial orders and procedures are available on our website
at

www.lakecountyohio.gov/coc
Select DOWNLOADS
Scroll to PRE-TRIAL ORDERS

Select the appropriate pre-trial order/procedure for YOUR
respective case and Judge.

If you are unable to access or unclear as to which pre-trial
order/procedure applies to you, contact the Office of the Clerk
of Courts, New Case Department (440.350.2657) during
normal business hours and a copy will be immediately
mailed to you,

Maureen G. Kelly, Clerk of Courts
Revised 7/1/2013 Pretrial orders

